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                                 DISTRICT Ci              URT
 JTM/MWS: USAO# 2017R00588

                        IN THE ZNESTamtegwtt %STRICT COURT
                            FOR THE DISTRICT OT MARYLAND
                        L.Ai•
 UNITED STATES OF AMERICA riALI ii1014E
                     BY              *                     .0RIMINAL NO.-ROB
                                                           Y
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           V.
                                                            (Malicious Destruction of Property by
 JAMIE CLEMONS,                                       •     Fire, 18 U.S.C. § 844(i); Aiding and
                                                            Abetting, 18 U.S.C. § 2)
                Defendant.


                                         INDICTMENT

                                        COUNT ONE
                        (Malicious Destruction of Real Property by Fire)

        The Grand Jury for the District of Maryland charges that:

        On or about July 28, 2017, in the District of Maryland, the defendant,

                                       JAMIE CLEMONS,

 maliciously damaged and destroyed, and attempted to damage and destroy, by means of fire, any

 building and other real and personal property used in interstate commerce and in activities

 affecting interstate commerce, that is, the bar known as Coconut Charlies, 9129 Fort Smallwood

 Road, Pasadena, Maryland 21122.

 18 U.S.C. § 844(i)
 18 U.S.C. § 2



                                                United States Attorney


 A TRUTT BILL:


SIGNATURE REDACTED
 Foreperson                                     Date
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